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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ERIN O’CALLAGHAN, et al.,      )
                               )
     Plaintiffs,               )
                               )    Case No. 19 C 06271
     v.                        )
                               )    Magistrate Judge M. David Weisman
THE BOARD OF TRUSTEES OF THE )
UNIVERSITY OF ILLINOIS, et al. )
                               )
     Defendants.
                               ORDER

        The case is before the Court on Defendant/Counter-Plaintiff Paul Schewe’s (“Schewe”)
Motion for Sanctions [86], and Defendant The Board of Trustees of the University of Illinois’s
(“UIC”) Joinder in Motion for Sanctions [88] against plaintiffs Erin O’Callaghan, Kathryn Lorenz,
Anne Kirkner, Veronica Shepp, Marlee Fry, and Sarah Malone (collectively, “plaintiffs”). The
defendants bring these motions pursuant to Federal Rule of Civil Procedure (“Rule”) 37(b) for
plaintiffs’ alleged violation of the Court’s January 24, 2022 Order, and Rule 30(d)(2) for plaintiffs’
conduct UIC claims frustrated the fair examination of the deponents. For the reasons set forth
below, the Court grants in part and denies in part the defendants’ motions for sanction.

                                            Background

        Schewe brings his motion for sanctions pursuant to Rule 37(b)(2)(A) for plaintiffs’ alleged
violation of the Court’s January 24, 2022 Order. ECF 86 at 1. Schewe served his First Set of
Interrogatories and Requests to Produce on September 24, 2021. Id. at 2. On October 25, 2021,
plaintiffs served their responses. Id. Counsel for plaintiffs and Schewe held a meet and confer
conference on December 10, 2021 to discuss plaintiffs’ responses to a number of requests to
produce that Schewe believed to be deficient for various reasons. Id. Among these responses,
Schewe identified Request to Produce Number 9 which “sought communications amongst
Plaintiffs, and with third-parties, related to Schewe’s alleged conduct and various other matters
alleged in Plaintiffs’ complaint.” Id. Counsel for plaintiffs represented at the meet and confer that
plaintiffs “were searching for, and would produce, additional responsive documents, but he did
not anticipate substantially more documents from Plaintiffs” and would advise Schewe’s counsel
of further responsive documents by January 14, 2022. Id. at 3; see ECF 75 at ¶ 2.

       After not being advised of further responsive documents and not receiving supplemental
document production, Schewe filed a motion to compel on January 17, 2022. ECF 86 at 3-4; see
ECF 75. In his motion, with respect to Request to Produce Number 9, Schewe argued “Plaintiffs
produced a Facebook group chat with each other, but only produced limited, selective direct text
communications between [plaintiffs] Malone and O’Callaghan.” ECF 75 at ¶ 9. At a January 21,
2022 meet and confer conference, counsel for plaintiffs and Schewe “specifically discussed direct
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communications between Plaintiffs, including text messages and e-mails… [and] counsel for
plaintiffs… represented… that Plaintiffs maintained they did not possess further meaningful
documents, but would search for, and produce, any additional responsive material… by February
1, 2022.” ECF 86 at 4. On January 24, 2022, after hearing progress of the meet and confer
conference and a way forward for resolving issues in Schewe’s motion to compel, we denied
Schewe’s motion to compel as premature and adopted parties’ agreement, ordering the following:
“Plaintiffs produced supplemental production, and to the extent additional documents are needed,
they will be produced by 2/1/2022.” ECF 79. Despite not having produced supplemental
production regarding communication between plaintiffs prior to the start of plaintiffs’ depositions
which took place February 8, 2022 to February 18, 2022,1 plaintiffs belatedly produced 7,108
pages of communications and works between February 15, 2022 and February 21, 2022.2 ECF 86
at 15, 17; ECF 84 at 2.

        Defendant UIC joined Schewe’s motion for Sanctions supplementing Schewe’s motion
with additional context specifically on plaintiffs’ production of documents on February 17, 2022
which included “a series of text messages sent on February 8, 9, 11, 14, 15, and 16 – all days that
Plaintiffs were being deposed… show[ing] that all six of the Plaintiffs were communicating via
text message during their own depositions, regarding the substance of their testimony.” ECF 88
at 2. In its motion, UIC focuses on the court imposing sanctions under Rule 30(d)(2) whereby “the
court may impose an appropriate sanction – including the reasonable expenses and attorney’s fees
by any party – on a person who impedes, delays, or frustrates the fair examination of the deponent.”
Fed. R. Civ. P. 30(d)(2). UIC argues that plaintiffs’ conduct “truly frustrated its effort to secure
un-coached, individual testimony from each Plaintiff.” ECF 88 at 7. UIC also claims that these
communications exposed false statements under oath made by plaintiffs Veronica Shepp and
Marlee Fry during their depositions. ECF 88 at 1.

        Schewe requests this Court sanction plaintiffs and “order them to pay (i) all Defendants the
costs associated with all Plaintiffs’ past and future deposition sessions, (ii) the costs incurred by
Defendants to obtain the late-produced documents, including those associated with Schewe’s prior
Motion to Compel, this Motion for Sanctions, and efforts by UIC” and to extend “the time
permitted for completion of Plaintiffs’ deposition by 2 hours.” ECF 86 at 25. UIC requests that
this Court “order each Plaintiff to bear Defendant Board of Trustees’ fees and costs for their
depositions and for bringing this motion.” ECF 88 at 9.

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  The depositions of plaintiffs took place on the following dates: Sarah Malone on February 8, Anne Kirkner on
February 11, Marlee Fry on February 14, Veronica Shepp on February 15, Katherine Lorenz on February 16, and Erin
O’Callaghan on February 18. ECF 88 at 1.
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  More specifically, On February 15, 2022, following Plaintiff Shepp’s deposition, “plaintiffs produced 2,767 pages
of e-mail correspondence between themselves that was responsive to Schewe’s Requests to Produce and the subject
of his prior motion to compel.” ECF 86 at 15. On February 16, 2022, “counsel for UIC sent correspondence to
Plaintiffs’ counsel… further request[ing] Plaintiffs supplement their document production ‘to include phone, text, and
social media communications between Plaintiffs’” responsive to Defendant UIC’s document requests 15 and 17. Id.
(quoting ECF 86, Exhibit A-4 at 2). UIC’s document request 15 sought, “[a]ll documents and/or communications
between or among Plaintiffs and/or any third parties concerning the University investigations into the Plaintiffs’
complaints” and UIC’s document request 17 sought, “[a]ll phone, text message, email, social media, and/or any other
communications or documents between or among Plaintiffs between July 1, 2016 and September 19, 2019.” ECF 86,
Exhibit A-4 at 1. Then, “between February 16 and February 21, 2022, Plaintiffs produced an additional 4,341 pages
of documents, comprised of Communications and Works that included hundreds of pages of text messages, which
were the subject of Schewe’s prior Motion to Compel.” ECF 86 at 17.

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                                             Discussion

       The Court will review the request for Rule 37(b)(2)(A) Sanctions and Rule 30(d)(2)
Sanctions in turn.

        Rule 37 empowers the Court to levy a variety of sanctions against a party who “fails to
obey an order to provide or permit discovery.” Fed. R. Civ. P. 37(b)(2)(A). Under Rule
37(b)(2)(C) “the court must order the disobedient party, the attorney advising that party, or both
to pay the reasonable expenses, including attorney’s fees, caused by the failure, unless the failure
was substantially justified or other circumstances make an award of expenses unjust.” Fed. R.
Civ. P. 37(b)(2)(C).

        In their response brief, plaintiffs concede that “Plaintiffs did not turn over everything they
should have by February 1, 2022, and thus did indeed run afoul of this Court’s order.” ECF 92 at
4-5. “Whether a party’s failure to comply with the discovery rules is ‘substantially justified’ or
‘harmless’ is within the broad discretion of the district court.” DR Distributors, LLC v. 21 Century
Smoking, Inc., 513 F. Supp. 3d 839, 959 (N.D. Ill. 2021) (citing David v. Caterpillar, Inc., 324
F.3d 851, 857 (7th Cir. 2003)). Broad discretion also applies to “a finding that the imposition of
sanctions would be ‘unjust.’” Id. Substantially justified “has been said to be satisfied if there is a
‘genuine dispute’ … or if reasonable people could differ as to the appropriateness of the contested
action,” meaning “justified to a degree that could satisfy a reasonable person.” Pierce v.
Underwood, 487 U.S. 552, 565 (1988) (internal citations omitted). Plaintiffs bear the burden to
establish their failure to comply with the January 24, 2022 order was substantially justified or the
imposition of sanctions would be unjust. See DR Distributors, 513 F. Supp. 3d at 959 (“The party
facing the sanctions (the non-complying party) bears the burden to establish that the failure was
substantially justified or harmless or the imposition of sanctions would be unjust.”) (citing Salgado
by Salgado v. Gen. Motors, Corp. 150 F.3d 735, 742 (7th Cir. 1988)).

        Plaintiffs argue that their “failure to comply with the February 1 deadline is substantially
justified” because plaintiffs “are not lawyers and cannot be expected to understand the parameters
of Fed. R. Civ. P. 26” so there is “no basis to infer purposeful withholding by the Plaintiffs,” and
they were just “debat[ing] the relevance of their communications and how much they [would] be
required to turn over.” ECF 92 at 8. This explanation does not demonstrate that the failure to
comply with court order was substantially justified, it actually does quite the opposite. Debating
the relevance of the information demonstrates plaintiffs’ understanding of their obligation to
provide these communications as part of the discovery process. Generally, the issue of relevance
and discovery issues in general are better left for counsel to decide. Plaintiffs, all college-educated
and seemingly sophisticated individuals, apparently kept their counsel uninformed on these key
communications. Plaintiffs, at a minimum, should have made their counsel aware of these
communications and allowed their attorneys to review and redact appropriately. Additionally,
plaintiffs’ attorneys are expected to understand the parameters of Rule 26 and to counsel their
clients accordingly as to what is expected of them. Based on the circumstances presented here, an
inadequate understanding due to plaintiffs not being lawyers is not a justified excuse for not
complying with the court order.




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        Plaintiffs also argue that plaintiffs’ “delay in turning over… all their emails and text
messages to Schewe… should be seen as substantially justified within the meaning of the rule”
under the circumstances of a sex discrimination case. ECF 92 at 9. While the Court is sympathetic
to plaintiffs’ position and concerns given the nature of the case, Plaintiffs have an obligation to
timely produce discovery. See generally Fed. R. Civ. P. 26. Plaintiffs’ counsel could have
considered other options to address their clients’ concerns such as filing a protective order
designating attorneys’ eyes only for internal communications between plaintiffs, seeking in
camera review, or the like. Accordingly, the Court finds that plaintiffs’ failure to produce
discovery by February 1, 2022 in accordance with the Court’s order on January 24, 2022 was not
substantially justified.

        Next, we turn to whether the award of attorneys’ fees is unjust. This standard is a “rather
flexible catch-all provision… [t]herefore, in determining whether sanctions are ‘unjust,’ courts
may consider the nature of the offending party’s discovery failures and the degree of prejudice and
harm visited upon the prevailing party relative to the prevailing party’s own abuses of the
discovery process (if any).” DR Distributors, 513 F. Supp. 3d at 959-60 (internal citations
omitted).

        Here, plaintiffs failed to supplement discovery responses by February 1st, failing to comply
with court order, and provided these supplemental responses, containing internal communications
between plaintiffs, during the depositions instead. Schewe claims that as a result of this failure,
defendants were harmed because they “did not have all relevant material necessary for a complete
examination of Plaintiffs at their depositions … had to devote time during the depositions to
uncover the existence of the Communications, contend with Plaintiffs’ baseless objections, and
will have to conduct future depositions.” ECF 86 at 24. Furthermore, regarding strategy, Schewe
argues plaintiffs’ “late disclosures taint the entire deposition process… [whereby plaintiffs] will
now have additional time to prepare for questions about matters raised by the new documents,
[will be] more focused on that material, depriving Defendants of the spontaneity that is an
important element of effective deposition examination, will benefit from having the experience of
their prior examinations, and will now be more comfortable answering questions posed by
Defendants’ counsel.” ECF 98 at 6.

        Plaintiffs claim, “the most harm” that could have occurred is that plaintiffs “caused a delay
in concluding the remaining hours of their depositions.” ECF 92 at 9. Plaintiffs argue this delay
in producing materials, while regrettable, “did not prejudice Defendants in any way, and if
anything will slightly inconvenience all the parties by prompting a second round of depositions.”
Id. at 10, 12. Plaintiffs note that “Defendants do not quote any email, text message, or other
document that was both: 1) withheld in violation of the court’s order, and 2) pertinent in any way
to the underlying claims or defenses in this case.” Id. at 10.

       Schewe’s request to extend “the time permitted for completion of Plaintiffs’ deposition by
2 hours… to permit [plaintiffs’] full examination on matters raised by the untimely production of
documents,” ECF 86 at 25, and plaintiffs’ agreement to produce plaintiffs for an additional day
of depositions and additional hours beyond the seven-hour limit set forth in Rule 30(d)(1) mitigates
much of the harm imposed on defendants. Schewe’s request for sanctions in the form of fees,
however, is disproportionate to the harm caused by plaintiffs’ discovery failure. The court

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acknowledges there was harm done to defendants in having to devote time in the first round of
depositions to uncovering the existence of responsive information, and thus imposition of
sanctions would not be unjust, however, we must focus on making the defendants whole again.
Rickels v. City of South Bend, Ind., 33 F.3d 785, 787 (7th Cir. 1994) (moving party “should be
made whole – should be as well off as if the opponent had respected his legal rights in the first
place”).

        Having plaintiffs pay defendants’ costs associated with plaintiffs’ past and future
depositions and costs of Schewe’s motion to compel that was denied as premature far exceed that
needed to make defendants whole again and would overcompensate defendants. As plaintiffs
explained, “time spent reviewing these additional documents and questioning Plaintiffs about them
is time they would have spent anyway, no matter when the documents were produced…. [and]
these depositions would have been taken anyway” with or without failing to adhere to the court
order. Furthermore, the additional hours of depositions are not compensable, as this time
presumably would have been needed had the plaintiffs produced documents by February 1, 2022.

        To make defendants whole, and considering the nature of the discovery violations as
detailed above, the Court orders plaintiffs to pay the costs incurred by Schewe and UIC associated
with the filing of Schewe’s motion for sanctions and reply brief, and UIC’s joinder in the motion.
See Lightspeed Media Corp. v. Smith, 830 F.3d 500, 507 (7th Cir. 2016) (“Rule 37(a) sanctions
‘should encompass all expenses, whenever incurred, that would not have been sustained had the
opponent conducted itself properly’”). The Court further orders plaintiffs to pay the appearance
fee for court reporters at the additional depositions (not to include the costs of any transcripts
ordered). The Court presumes counsel for UIC spent at least an hour over the course of all previous
depositions to prepare questions and question plaintiffs to uncover the existence of
communications in order to press plaintiffs to produce the supplemental disclosure.3 The Court
also acknowledges that UIC sent a letter to plaintiffs’ counsel on February 16, 2022 requesting
that plaintiffs “supplement [their] production of emails to include phone, text message, and social
media communications between plaintiffs as requested in Document Requests No. 15 and 17.”
ECF 86, Exhibit A-4 at 2. Because this hour uncovering communications and time spent on the
letter would not have been needed had plaintiffs provided the supplemental production by February
1, 2022, plaintiffs are ordered to pay both Schewe’s attorneys’ fees and UIC attorneys’ fees for
one hour on previous depositions.4 Plaintiffs are also ordered to pay UIC attorneys’ fees for
reasonable time spent on the letter. Any harm to defendants based on their deposition strategy
being disclosed is a collateral consequence in all cases which require an additional deposition but
awarding attorneys’ fees will not remedy that harm or make Schewe or UIC whole.

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  The Court will ask defendants for appropriate fee petitions and for plaintiffs to respond. If defendants disagree with
the accuracy of the Court’s presumption that UIC spent one hour preparing questions and questioning plaintiffs on the
existence of documents pertaining to their internal communications, defendants shall explain their positions in the fee
petitions and plaintiffs shall respond in their brief.
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  In their response brief, Plaintiffs state, “One could credibly argue that it took perhaps as much as an hour to get to
the bottom of what documents were missing from discovery, but Defendants do not make that argument; they simply
want all the costs.” ECF 92 at 10. The Court presumes that one hour is reasonable, but as explained infra, each side
will be able to raise any objections to this “ballpark estimate.” Further, because both sets of defense counsel were
forced to sit through unnecessary deposition questioning, both sets of defendants should be made whole for the time
wasted.


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         With regard to defendant UIC’s joinder in motion for sanctions (ECF 88), Rule 30(d)(2)
provides “the court may impose an appropriate sanction – including the reasonable expenses and
attorney’s fees by any party – on a person who impedes, delays, or frustrates the fair examination
of the deponent.” Fed. R. Civ. P. 30(d)(2). UIC seeks sanctions “on the conduct that truly
frustrated its effort to secure un-coached, individual testimony from each Plaintiff.” ECF 88 at 7.
UIC claims plaintiffs frustrated UIC’s “fair examinations by coaching each other during testimony,
while they were under oath… [and argue] it is impossible to recreate what would have occurred
during the depositions had plaintiffs testified solely according to their own memories[.]” Id. at 9.
Schewe also argues that plaintiffs “texting with one another about substantive matters during
depositions compromised the earlier proceedings, which are based on the premise that a witness
testifies in real-time based on his or her individual recollection.” ECF 98 at 6. The Court agrees
that the harm here is the degradation of truthfulness in the deposition process. However,
defendants have access to the communications between plaintiffs that occurred during the first
round of depositions and can ask follow-up questions on similar topics plaintiffs briefly discussed
with each other now at the second round of plaintiffs’ depositions. While the element of
spontaneity will be removed at the second deposition, defendants can be more secure that they are
receiving truthful unfiltered responses. This Court determines that the appropriate sanction here,
apart from additional time for a second deposition as agreed by parties, is no more than already
stated above to have plaintiffs pay reasonable expenses for UIC’s joinder in motion and to pay the
appearance fee for court reporters at additional depositions.

                                            Conclusion

        For the reasons stated above, the Court grants in part and denies in part the defendants’
motions for sanction [86, 88]. In conclusion, by agreement, the plaintiffs will sit for depositions
again, up to a total of nine hours. Compare Rule 30(d)(1). The Court has determined, that to make
Schewe and UIC whole under Rules 37(b)(2)(A) and 30(d)(2), the fee award includes reasonable
time associated with the filing of Schewe’s motion for sanctions and reply brief and UIC’s joinder
in motion. Additionally, plaintiffs will pay the appearance fee for court reporters at additional
depositions, one hour of attorneys’ fees to both defendants for time spent in the first round of
depositions uncovering the existence of plaintiffs’ communications, and attorneys’ fees to UIC for
reasonable time spent on the February 16, 2022 letter requesting supplemental production.
Defendants shall each submit a fee petition within 14-days of the final “second round” deposition.
Plaintiffs shall file any objection to these fee petitions within 21-days of the final “second round”
deposition. The Court will rule on the fee petition by mail. The Court notes that these sanctions
are unfortunate given the nature of the litigation and the risk that such sanctions are erroneously
perceived as a disincentive for individuals to pursue these cases. However, these sanctions are
necessary to preserve the integrity of the civil justice system.


SO ORDERED.                                   ENTERED:        June 7, 2022




                                              M. David Weisman
                                              United States Magistrate Judge

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